              Case 2:14-cr-00210-JAM Document 134 Filed 08/29/18 Page 1 of 2


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 4
     Attorney for JAMES CLINE
 5

 6                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     THE UNITED STATES OF AMERICA,                  ) No. 14-210 JAM
 8
                     Plaintiff,                     )
 9                                                  ) STIPULATION AND
            v.                                      ) ORDER MODIFYING THE SCHEDULE
10                                                  ) FOR Mr. CLINE’S PRE-SENTENCE
                                                    ) REPORT FOR A NEW SENTENCING DATE
11
     JAMES CLINE,                                   ) OF NOVEMBER 6, 2018
12
                                                    )
                     Defendant.                     ) Judge: Hon. John A. Mendez
13   ================================)
14
            Defendant James Cline is requesting a two-week continuance of his sentencing hearing, which
15

16
     is presently set for October 16, 2018. AUSA Jason Hitt, on behalf of the United States Attorney’s

17   Office, and USPO Janice Slusarenko, on behalf of the United States Probation Office, have no
18   objection to the requested continuance. The parties hereby stipulate to re-set the schedule for the pre-
19
     sentence report as follows:
20
            Judgment and Sentencing Date: November 6, 2018 at 9:15 a.m.
21

22          Reply, or Statement of Non-Opposition: October 30, 2018

23          Motion for Correction of the Presentence Report shall be filed with the Court and
            served on the Probation Officer and opposing counsel no later than: October 23, 2018
24

25          The Presentence Report shall be filed with the Court and disclosed to counsel no later
            than: October 16, 2018
26

27
            Counsel's written objections to the Presentence Report shall be delivered to the
            Probation Officer and opposing counsel no later than: October 09, 2018
28




                                                      -1-
              Case 2:14-cr-00210-JAM Document 134 Filed 08/29/18 Page 2 of 2


 1          The proposed Presentence Report shall be disclosed to counsel no later
            than: September 25, 2018
 2

 3
     Dated: August 28, 2018                              Respectfully submitted,
 4
                                                         /s/ Michael D. Long
 5
                                                         MICHAEL D. LONG
 6                                                       Attorney for James Cline

 7   Dated: August 28, 2018                              McGREGOR SCOTT
 8
                                                         United States Attorney

 9                                                       /s/ Jason Hitt
                                                         JASON HITT
10
                                                         Assistant U.S. Attorney
11
                                                ORDER
12
            GOOD CAUSE APPEARING AND HAVING BEEN SHOWN, IT IS SO ORDERED.
13
            The Court hereby orders that the schedule for Mr. Cline’s pre-sentence report is amended
14
     as follows:
15

16          Judgment and Sentencing Date: November 6, 2018 at 9:15 a.m.
17
            Reply, or Statement of Non-Opposition: October 30, 2018
18
            Motion for Correction of the Presentence Report shall be filed with the Court and
19          served on the Probation Officer and opposing counsel no later than: October 23, 2018
20
            The Presentence Report shall be filed with the Court and disclosed to counsel no later
21          than: October 16, 2018
22
            Counsel's written objections to the Presentence Report shall be delivered to the
23          Probation Officer and opposing counsel no later than: October 09, 2018

24          The proposed Presentence Report shall be disclosed to counsel no later
25
            than: September 25, 2018

26   Dated: August 28, 2018                      /s/ John A. Mendez____________
                                                 Hon. JOHN A. MENDEZ
27                                               United States District Court Judge
28




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